                                              Entered on Docket
                                              October 09, 2019
                                              EDWARD J. EMMONS, CLERK
                                              U.S. BANKRUPTCY COURT
                                              NORTHERN DISTRICT OF CALIFORNIA


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                                            Signed and Filed: October 9, 2019
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                                            ________________________________________
 4                                          DENNIS MONTALI
                                            U.S. Bankruptcy Judge
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 6
 7                        UNITED STATES BANKRUPTCY COURT
 8                        NORTHERN DISTRICT OF CALIFORNIA
 9
     In re:                            )            Bankruptcy Case
10                                     )            No. 19-30088-DM
     PG&E CORPORATION,                 )
11                                     )            Chapter 11
                  - and -              )
12
                                       )            Jointly Administered
13   PACIFIC GAS AND ELECTRIC COMPANY, )
                                              )
14               Debtors.                     )     Date: October 7, 2019
                                              )     Time: 10:00 AM
15                                            )
     ☐ Affects PG&E Corporation               )     Place: Courtroom 17
16   ☐ Affects Pacific Gas and                )            450 Golden Gate Ave.
         Electric Company                     )            16th Floor
17                                            )            San Francisco, CA
     ☒ Affects both Debtors                   )
18                                            )
     * All papers shall be filed        in    )
19   the Lead Case, No. 19-30088        (DM). )
                                              )
20
21          ORDER GRANTING JOINT MOTION OF THE OFFICIAL COMMITTEE
         OF TORT CLAIMANTS AND AD HOC COMMITTEE OF SENIOR UNSECURED
22         NOTEHOLDERS TO TERMINATE THE DEBTORS’ EXCLUSIVE PERIODS
            PURSUANT TO SECTION 1121(d)(1) OF THE BANKRUPTCY CODE
23
24         On October 7, 2019, this court held a hearing on the joint
25   motion (Dkt. No. 3940) of the Official Committee of Tort
26   Claimants (“TCC”) and the Ad Hoc Committee of Senior Unsecured
27   Noteholders (“Senior Noteholders”) (together, the “Movants”) to
28   terminate the exclusivity period accorded to debtors PG&E
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     Case: 19-30088   Doc# 4167   Filed: 10/09/19   Entered: 10/09/19 14:02:15    Page 1 of
                                               4
 1   Corporation and Pacific Gas and Electric Company (together,

 2   “Debtors”).      For the reasons set forth below, the court will

 3   grant the motion and terminate exclusivity solely as to the TCC

 4   and the Senior Noteholders so that they can proceed with their

 5   proposed plan.     It will deny the oral and written requests by

 6   other parties that exclusivity should be terminated globally.

 7         The court has carefully considered the arguments of the

 8   Movants, the Debtors, the PG&E Shareholders, and other parties

 9   opposing and joining the motion.            The Court recognizes that the

10   Debtors have made significant progress in these cases.                       Their

11   proposed plan reflects successful resolution of major issues,

12   including settlement with a substantial group of public entity

13   creditors and a tentative settlement with one of the major

14   constituencies, the Ad Hoc Group of Subrogation Claim Holders.

15   Further, some of their opponents’ arguments that Debtors’ plan

16   is not feasible because of uncertain financing conditions have

17   been adequately addressed at this point.               In sum, the plan is on

18   track as well as can be expected for now.

19         That said, the parties most deserving of consideration,

20   speaking through the TCC, have changed their position from the

21   last time the court considered terminating exclusivity, and

22   spoken loudly and clearly that they want their and the Senior

23   Noteholders’ proposed plan to be considered.                Debtors’

24   contentions that their opponents’ proposed plan is flawed and

25   will not be confirmable are no reason to deny the motion.                      As

26   proposed, Movants’ proposed plan is also on track as well as can

27   be expected for now.         The coming weeks will permit ample time to

28   explore and resolve issues regarding both plans consistent with
                                             -2-


     Case: 19-30088   Doc# 4167    Filed: 10/09/19   Entered: 10/09/19 14:02:15    Page 2 of
                                                4
 1   the more traditional plan vetting processes well-known by

 2   bankruptcy professionals.

 3         While the court has expressed concerns about avoiding any

 4   type of litigation that deals with corporate control and

 5   sophisticated and rarified bankruptcy issues at the expense of

 6   paying the wildfire victims, it will not second-guess the

 7   informed decision of two well-counselled groups who are willing

 8   to take the attendant risks that go with competing plan

 9   disputes.    This is doubly important in light of the looming

10   deadline for meeting the Wildfire Fund requirements of AB 1054.

11   The risk that Debtors’ plan will not be confirmable for some

12   reason is not worth turning away a viable alternative.                  A dual-

13   track plan course going forward may facilitate negotiations for

14   a global resolution and narrow the issues which are in

15   legitimate dispute.      If that result is not achieved and the

16   estimation process is completed on schedule in the district

17   court, the outcome might result in one plan failing because it

18   pays too much to the victims, or the other failing because it

19   does not.    One plan emerging as confirmable is a very acceptable

20   outcome.    And if both plans pass muster, the voters will make

21   their choice or leave the court with the task of picking one of

22   them.

23         For the foregoing reasons, the court hereby GRANTS the

24   joint motion of the Movants to terminate the exclusivity period

25   of Bankruptcy Code section 1121(d).             By a separate order, the

26   court is denying the Debtors’ Second Exclusivity Motion (Dkt.

27   No. 4005).

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     Case: 19-30088   Doc# 4167   Filed: 10/09/19   Entered: 10/09/19 14:02:15   Page 3 of
                                               4
 1         Movants are to file their proposed plan no later than

 2   October 17, 2019.      The court will conduct a status conference on

 3   the two completing plans on October 23, 2019, at 10:00 AM.

 4   Prior to that date principal counsel for Debtors, the Senior

 5   Noteholders and the TCC should meet and confer about scheduling

 6   and related matters concerning those two plans.

 7                                 **END OF ORDER**

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     Case: 19-30088   Doc# 4167   Filed: 10/09/19   Entered: 10/09/19 14:02:15   Page 4 of
                                               4
